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 Attorneys for Plaintiff Bryon Jackson
                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                         SAN FRANCISCO DIVISION



 BRYON JACKSON,                            )                  Case No. 3:21-cv-08458-LB
                                           )
    Plaintiff,                             )                  NOTICE OF ATTORNEY APPEARANCE
                                           )                  OF JENNIFER A. KASH
 v.                                        )
                                           )                  Judge:      Hon. Laurel Beeler
 TARGET CORPORATION,                       )
                                           )
    Defendant.                             )
                                           )
 _________________________________________ )

         Plaintiff Bryon Jackson hereby notifies the Court and the parties to this action that Jennifer A.

 Kash of Warren Kash Warren LLP, an attorney admitted to practice before this Court, appears as counsel

 for plaintiff Bryon Jackson in this matter, under the Court’s Order Appointing Counsel, Docket No. 87

 (Sept. 14, 2023). Please serve all pleadings, correspondence, and other materials on Ms. Kash at the

 above address.

 Date: September 22, 2023                              Respectfully submitted,
                                                       _______________________________________
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                                                                                     Case No. 3:21-cv-08458-LB
___________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                                                          NOTICE OF ATTORNEY APPEARANCE
